               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA ALLIANCE         )
FOR RETIRED AMERICANS           )
                                )
          Plaintiff,            )
                                )
     v.                         )
                                )
ALAN HIRSCH in his official     )
capacity as Chair of the        )
State Board of Elections,       )
JEFF CARMON in his official     )
capacity as Secretary of the    )
State Board of Elections,       )
STACY EGGERS IV in his          )
official capacity as Member     )
of the State Board of           )
Elections, KEVIN N. LEWIS in    )
his official capacity as        )
Member of the State Board of    )
Elections, SIOBHAN O'DUFFY      )
MILLEN in her official          )            1:23-cv-837
capacity as Member of the       )
State Board of Elections, and   )
KAREN BRINSON BELL in her       )
official capacity as            )
Executive Director of the       )
State Board of Elections,       )
                                )
          Defendants,           )
******************************* )
and                             )
                                )
PHILIP E. BERGER in his         )
official capacity as President )
Pro Tempore of the North        )
Carolina Senate, and            )
TIMOTHY K. MOORE in his         )
official capacity as Speaker    )
of the North Carolina House     )
of Representatives,             )
                                )
          Intervenor-Defendants.)




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                                  ORDER

     Before this court is Intervenor Defendants’ Motion to

Dismiss the Amended Complaint or, Alternatively, to Transfer.

(Doc. 37.) For the reasons stated herein, the motion will be

granted, and the case will be transferred to the United States

District Court for the Eastern District of North Carolina

pursuant to 28 U.S.C. § 1406(a).

     Also pending before this court is Plaintiff’s Motion for

Preliminary Injunction, (Doc. 33), and Plaintiff’s Rule 65

Motion to Consolidate Preliminary Injunction Hearing with Trial

on the Merits, (Doc. 49). In light of the transfer, this court

will defer ruling on those motions, (Docs. 33, 49), as well as

the merits of Intervenor Defendants’ Motion to Dismiss,

(Doc. 37), to the transferee court. Accordingly, those motions

will be denied without prejudice.

I.   FACTUAL BACKGROUND

     On October 2, 2023, Plaintiff, North Carolina Alliance for

Retired Americans, commenced this action against the members and

executive director of the North Carolina State Board of

Elections, alleging that N.C. Gen. Stat. § 163-55(a) violates

Section 202 of the Voting Rights Act, and the First and

Fourteenth Amendments to the United States Constitution. (Am.

Compl. for Declaratory and Inj. Relief (“Compl.”) (Doc. 32)


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¶¶ 1–7.) Specifically, Plaintiff alleges that the requirement

that a voter must have “resided in the State of North Carolina

and in the precinct in which the person offers to vote for 30

days next preceding an election” (“Durational Residency

Requirement”) is unconstitutional. (Id. ¶ 7.)

       Plaintiff argues the Voting Rights Act and the Constitution

prohibit durational residency requirements but permits pre-

election registration deadlines. (Id. ¶ 4.) “If a state’s

durational residency requirement coincides with its

constitutional registration deadline, a voter would not be

independently injured by the residency requirement because they

would also be unable to register before the state’s

predetermined deadline.” (Id. ¶ 42.) However, North Carolina

voters may register up until the Saturday before election day.

(Id. ¶ 43.) Thus, if an otherwise eligible voter wishes to take

advantage of the same-day registration process but has moved to

the State or a new county or precinct within 30 days of the

election, they would not be able to vote in their new precinct

because of the Durational Residency Requirement. (See id.)

Plaintiff seeks declaratory and injunctive relief. (Id. at 20–

21.)




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II.   PROCEDURAL HISTORY

      On October 16, 2023, Philip E. Berger, in his official

capacity as President Pro Tempore of the North Carolina Senate,

and Timothy K. Moore, in his official capacity as Speaker of the

North Carolina House of Representatives, (together, “Intervenor

Defendants”) filed an unopposed motion to intervene as

defendants. (Doc. 22.) On December 15, 2023, Magistrate Judge

Webster issued a memorandum opinion and recommendation to grant

the motion to intervene, (Doc. 29), and this court adopted Judge

Webster’s recommendation and granted the motion to intervene,

(Doc. 41).

      On January 16, 2024, Intervenor Defendants filed a motion

to dismiss or, alternatively, to transfer, (Mot. to Dismiss the

Am. Compl. or, Alternatively, to Transfer (Doc. 37)), and a

memorandum in support, (Intervenors’ Mem. in Supp. of their Mot.

to Dismiss Am. Compl. or, Alternatively, to Transfer (“Defs.’

Mem.”) (Doc. 38)). Plaintiff responded, (Pl.’s Resp. in Opp. to

Intervenors’ Mot. to Dismiss (“Pl.’s Resp.”) (Doc. 45)), and

Intervenor Defendants replied, (Intervenors’ Reply in Supp. of

their Mot. to Dismiss Am. Compl. or, Alternatively, to Transfer

(“Defs.’ Reply”) (Doc. 47)).

      Intervenor Defendants’ motion to dismiss argues venue is

improper in this district, thus this court must dismiss the case


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for improper venue, or, in the alternative, transfer venue to

the Eastern District of North Carolina pursuant to 28 U.S.C.

§ 1406(a).1 (Defs.’ Mem. (Doc. 38) at 19–20.)

III. ANALYSIS

     When venue is challenged on a motion to dismiss, the

plaintiff bears the burden of showing that venue is proper. GORE

v. Air & Liquid Corp., No. 1:15-cv-465, 2016 WL 11680149, at *1

(M.D.N.C. June 21, 2016). “Absent an evidentiary hearing, a

plaintiff need only make a prima facie showing that venue is

proper. The Court can consider evidence outside the pleadings

and views the facts in the light most favorable to the

plaintiff.” Id. (internal citation omitted). However, the court

is not obligated to treat allegations that are speculative,

conclusory, or lacking factual detail, as true. Ansley v.

Warren, No. 1:16-cv-54, 2016 WL 5213937, at *7 (W.D.N.C. Sept.

20, 2016), aff’d 861 F.3d 512 (4th Cir. 2017). If venue is

improper, the court can either dismiss the case or, “if it be in

the interest of justice, transfer such case to any district or

division in which it could have been brought.” 28 U.S.C.

§ 1406(a).




     1 Intervenor Defendants’ motion also argues for dismissal on
other grounds, but, because this court is transferring the case,
it will not reach the merits of those arguments.
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     Venue is proper either in “(1) a judicial district in which

any defendant resides, if all defendants are residents of the

same State in which the district is located; [or] (2) a judicial

district in which a substantial part of the events or omissions

giving rise to the claim occurred, or a substantial part of

property that is the subject of the action is situated.” 28

U.S.C. §§ 1391(b)(1), (2).2

     “[I]n determining whether events or omissions are
     sufficiently substantial to support venue . . . , a
     court should not focus only on those matters that are
     in dispute or that directly led to the filing of the
     action.” [Mitrano v. Hawes, 377 F.3d 402, 405 (4th
     Cir. 2004)]. “Rather, it should review ‘the entire
     sequence of events underlying the
     claim.’” Id. (quoting Uffner v. La Reunion Francaise,
     S.A., 244 F.3d 38, 42 (1st Cir. 2001)). As “it is
     possible for venue to be proper in more than one
     judicial district,” id., [Plaintiff] need not show
     that this judicial district is the best venue—only
     that it is a proper venue. See AP Links, LLC v.
     Glob. Golf, Inc., No. CCB-08-705, 2008 WL 4225764, at
     *5 (D. Md. Sept. 2, 2008); see also Emp'rs Mut. Cas.
     Co. v. Bartile Roofs, Inc., 618 F.3d 1153, 1165 (10th
     Cir. 2010) (“[V]enue is not limited to the district
     with the most substantial events or omissions.”);
     Daniel v. Am. Bd. of Emergency Med., 428 F.3d 408, 432
     (2d Cir. 2005) (“Section 1391(b)(2) does not restrict
     venue to the district in which the ‘most substantial’
     events or omissions giving rise to a claim
     occurred.”). Nonetheless, the Court must still “take
     seriously the adjective ‘substantial’” in determining
     whether a substantial part of the relevant events or
     omissions occurred in this judicial district. Gulf
     Ins. Co. v. Glasbrenner, 417 F.3d 353, 357 (2d Cir.

     2 The statute further provides “if there is no district in
which an action may otherwise be brought,” venue is proper in
“any judicial district in which any defendant is subject to the
court's personal jurisdiction.” Id. § 1391(b)(3).
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     2005); Bartko v. Wheeler, No. 1:13CV1006, 2014 WL
     29441, at *9 (M.D.N.C. Jan. 3, 2014) (quoting Gulf,
     417 F.3d at 357).

GORE, 2016 WL 11680149, at *1.

     “Several courts apply the principle that ‘where plaintiffs

challenge state-wide policies, and not merely the actions of

state officials in a single county, venue is proper pursuant to

Section 1391(b)(2) in the district where those policies are

developed.” Ansley, 2016 WL 5213937, at *8; see also Stanton-

Negley Drug Co. v. Pa. Dep’t of Public Welfare, No. 07-1309,

2008 WL 1881894, at *5 (W.D. Pa. Apr. 24, 2008) (“[W]hen a

complaint is directed at statewide policies and actions of state

officials, proper venue is the district in which those policies

and actions took place, not the Plaintiff’s residence where she

felt the effect of those policies.”). “Other courts apply the

venue statute more broadly,” and allow cases to be brought in

the venue where the “effects” of the challenged statute would be

felt. Ansley, 2016 WL 5213937, at *8 (collecting cases).

     In Ansley, the plaintiffs challenged the constitutionality

of a North Carolina Senate Bill which allowed magistrate judges

to recuse themselves from conducting any marriages. Id. at *2.

The Bill was filed after a Western District of North Carolina

court declared unconstitutional a proposed Amendment to the

North Carolina Constitution which would prohibit same-sex


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marriage. Id. at *1–2. The defendant argued venue was only

proper in the Eastern District of North Carolina, where the

defendant resided in his official capacity, and where the

debates and enactment of the challenged law occurred. Id. at *8.

The court found that “while a substantial part of the events

giving rise to this lawsuit occurred in [the Eastern District of

North Carolina],” venue was proper in the Western District of

North Carolina “based on the specific allegations in the

Complaint made as to the magistrates in [a county in the Western

District] and based on Plaintiffs’ residency [in the Western

District].” Id. at *9.

     Here, Intervenor Defendants argue venue is improper in the

Middle District of North Carolina and ask this court to either

dismiss the Complaint or transfer the case to the Eastern

District of North Carolina under 28 U.S.C. § 1406(a) because all

Defendants reside in the Eastern District of North Carolina and

Defendants have performed every alleged event or omission giving

rise to Plaintiff’s purported claims in the Eastern District of

North Carolina. (Defs.’ Mem. (Doc. 38) at 19.) Plaintiff does

not dispute that all Defendants reside in the Eastern District,

and thus venue would be proper there. (See Pl.’s Resp. (Doc. 45)

at 18–21 (not disputing the residential prong but disputing the

events or omissions prong).) However, Plaintiff states venue is


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also proper in the Middle District “because the ‘events or

omissions giving rise to’ the Alliance’s claims include the

enforcement across the entire State of the 30-Day Residency

Requirements. A substantial part of those events occur in this

judicial district, where millions of North Carolinians live and

vote, including thousands of the Alliance’s members.” (Id.

at 19–20 (citations omitted).) Plaintiff also states that “the

Western and Middle Districts of North Carolina have repeatedly

heard election-related cases against Raleigh-based defendants

arising out of voting rules applicable across the state.” (Id.

at 19 (citing Brody v. N.C. State Bd. of Elections, No.

3:10cv383, 2011 WL 1843199, at *5 (W.D.N.C. May 16, 2011);

Greene v. Bartlett, No. 5:08CV88-V, 2008 WL 4223691, at *1–2

(W.D.N.C. Sept. 9, 2008) in support).)

     As an initial matter, in the absence of a timely objection

by the defendant, venue may be waived. Leroy v. Great W. United

Corp., 443 U.S. 173, 180 (1979). Therefore, in the absence of a

venue challenge, cases in the Western or Middle Districts of

North Carolina hearing similar election-related cases against

Raleigh-based defendants do not necessarily support Plaintiff’s

argument, because a court may, but is not required to, raise the

issue of defective venue sua sponte.




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     The other cases Plaintiff cites are factually distinct from

the case here. In Greene,3 the plaintiff, an individual

“seek[ing] to have his name placed on the ballot in the [General

Election] as an independent (or unaffiliated) candidate for a

North Carolina Tenth Congressional District seat,” challenged

the state law that governed the procedure independent candidates

must follow to be placed on the ballot. 2008 WL 4223691, at *1.

The court found venue was proper in the Western District because

there was a “nexus between Plaintiffs’ cause of action and the

federal judicial district that encompass[ed] the Tenth

Congressional District.” Id. at *2. Moreover, “[m]uch of

Plaintiffs’ efforts” at satisfying the requirements to be placed

on the ballot occurred in the Western District of North

Carolina. Id.

     Plaintiff has failed to identify any “acts or omissions”

occurring in the Middle District of North Carolina other than

the fact that an allegedly unconstitutional law would be

enforced statewide, thereby affecting “thousands of

[Plaintiff’s] members in this judicial district.” (Compl.

(Doc. 32) ¶ 16.) However, this type of conclusory allegation

does not support a prima facie showing of venue. Unlike Ansley


     3 Brody v. North Carolina State Board of Elections, No.
3:10cv383, 2011 WL 1843199 (W.D.N.C. May 16, 2011) is a case
with identical facts.
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and Greene, Plaintiff fails to point to any specific facts

linking Defendants’ acts or omissions to the Middle District of

North Carolina. If this court were to adopt Plaintiff’s venue

arguments, it would mean anytime a plaintiff organization

challenges a state law, venue would be proper in any district in

that state where the organization had members potentially

affected by the challenged statute — regardless of the specific

acts of the parties. This court declines to read Section

1391(b)(2) so broadly and concludes that venue is improper in

the Middle District of North Carolina.

     Because this court has concluded that venue is improper in

the Middle District of North Carolina, it must determine whether

to transfer the case to the Eastern District of North Carolina

or to dismiss the case without prejudice. See 28 U.S.C.

§ 1406(a) (“The district court of a district in which is filed a

case laying venue in the wrong division or district shall

dismiss, or if it be in the interest of justice, transfer such

case to any district or division in which it could have been

brought.”). “When venue would be proper in another district

under § 1391, transfer is preferred over dismissal unless there

is evidence that a case was brought in an improper venue in bad

faith or in an effort to harass a defendant.” GORE, 2016 WL

11680149, at *3 (quoting Jackson v. Leake, No. 1:05CV00691, 2006


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WL 2264027, at *10 (M.D.N.C. Aug. 7, 2006)). Here, there is no

indication that Plaintiff brought this case in an improper venue

in bad faith or in an attempt to harass. This court finds, and

both parties agree, that venue would be proper in the Eastern

District of North Carolina and that this case could have been

brought there. Thus, Intervenor Defendants’ motion to dismiss,

or alternatively, to transfer, will be granted and this case

will be transferred to the Eastern District of North Carolina.

IV.    CONCLUSION

       For the foregoing reasons, IT IS THEREFORE ORDERED that

Intervenor Defendants’ Motion to Dismiss the Amended Complaint

or, Alternatively, to Transfer, (Doc. 37), is GRANTED, and this

case shall be transferred to the United States District Court for

the Eastern District of North Carolina.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for

Preliminary Injunction, (Doc. 33), and Plaintiff’s Rule 65 Motion

to Consolidate Preliminary Injunction Hearing with Trial on the

Merits, (Doc. 49), are DENIED WITHOUT PREJUDICE.

       This the 16th day of May, 2024.




                                    __________________________________
                                       United States District Judge




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